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10                                  UNITED STATES DISTRICT COURT

11                                NORTHERN DISTRICT OF CALIFORNIA

12                                             SAN JOSE DIVISION

13
     IN RE:                               ) Case No.
14                                        )
                                          )
15                                        )
     REQUEST FOR INTERNATIONAL JUDICIAL ) EX PARTE APPLICATION FOR ORDER
16   ASSISTANCE FROM THE SEOUL NORTHERN ) PURSUANT TO 28 U.S.C. § 1782
     DISTRICT COURT IN SEOUL, REPUBLIC OF )
17   KOREA IN MATTER OF KIM JAEMO         )
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     EX PARTE APPLICATION FOR ORDER PURSUANT TO 28 U.S.C. § 1782
     NO.
              Case 5:24-mc-80237-EJD Document 1 Filed 09/18/24 Page 2 of 2




 1          Ismail J. Ramsey, United States Attorney for the Northern District of California, by the

 2 undersigned Assistant United States Attorney, Emmet P. Ong, petitions this Court for an order pursuant

 3 to 28 U.S.C. § 1782(a), appointing Emmet P. Ong, Assistant United States Attorney, Commissioner for

 4 the purposes of obtaining a statement and documents from Google LLC. Certain information has been

 5 requested by the Seoul Northern District Court in Seoul, Republic of Korea pursuant to a Letter of

 6 Request issued by that court in connection with the civil action Matter of Kim Jaemo, No.

 7 2023KASO363902.

 8          The grounds for this ex parte application are more fully articulated in the memorandum of law

 9 that has been simultaneously filed with the application. A proposed order is also provided for the

10 convenience of the Court.

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12 DATED: September 18, 2024                             Respectfully submitted,

13                                                       ISMAIL J. RAMSEY
                                                         United States Attorney
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                                                         /s/ Emmet P. Ong
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                                                         EMMET P. ONG
16                                                       Assistant United States Attorney

17                                                       Attorneys for the United States of America
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     EX PARTE APPLICATION FOR ORDER PURSUANT TO 28 U.S.C. § 1782
     NO.                                     1
